                        Case 1:21-cr-00048-LY Document 569 Filed 09/29/21 Page 1 of 2

                                                 UNITEDSTATESDISTRICTCOURT                               
                                                                                                             
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                                                     WesternDistrictofTexas                              
                                                                                                             
                                                                                                            
                                                    U.S.PretrialServicesOffice                           
                                                                                                            
                                                                                                    AustinSupervisor
                                                      September28,2021                                   
    
                                                                                                    AmandaCeballos
                  CarlosJ.Urrutia                                                                         
         ChiefU.S.PretrialServicesOfficer                                                          Replyto:
                                                                                             501West5thStreet,Suite3200
                  AntonioAcosta                                                                  Austin,Texas78701
                    DeputyChief                                                                   512Ͳ916Ͳ5297
                           
                 IvonneCastanon
               AssistantDeputyChief




        UnitedStatesMagistrateJudge
        SusanHightower,Jr.U.S.Courthouse
        501West5thStreet
        Austin,Texas78701
        
        RE: JoshuaBailey
        CASENO.:1:21CR00048Ͳ022
        BONDVIOLATION–NOACTIONREQUESTED
        
        HonorableMagistrateJudge:
        
        OnApril19,2021,JoshuaBaileywasreleasedbyYourHonoronpretrialsupervisionwithconditionsof
        release.ThedefendantispendingdispositionforviolationofTitle21U.S.C.§846&841(b)(1)(B)for
        Conspiracy to Possess with Intent to Distribute and Distribution of a Controlled Substance
        Methamphetamine.
        
        On August 11, 2021, the defendant submitted a urine specimen which revealed positive results for
        amphetamines. On August 26, 2021, Pretrial Services was notified of the positive test results.
        Subsequentcontactwiththedefendantresultedinhisadmissiontounknowinglyconsumingacaffeine
        pill,whichmayhavecontainedamphetamine.OnAugust27,2021,thedefendantsubmittedaurine
        specimenwhichrevealedpositiveresultsforamphetamine.OnSeptember13,2021,PretrialServices
        wasnotifiedofthepositivetestresults.PretrialServicesproceededtocontactthedefendant,wherehe
        admittedtoconsuming,speedpillsandAdderall,whichwerenonͲprescribedtohim.Thedefendanthas
        beenadmonishedandadvisedthatanyfurtherillicitdrugusemayresultinrevocationhispretrialrelease
        
        Asacorrectiveandcontrollingmeasure,PretrialServicesrecommendsthedefendantbeadmonished,
        participate and successfully complete outpatient substance abuse treatment, and be subject to an
        increaseinrandomdrugtesting.AssistantUnitedStatesAttorneyDanGuesshasbeeninformedofthe
        violationandconcurswiththerecommendationofPretrialServices.
        

“....strivingtoexemplifythehighestidealsandstandardsincommunitycorrections.”                               Page 1
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                 Case 1:21-cr-00048-LY Document 569 Filed 09/29/21 Page 2 of 2




ThisinformationisbeingprovidedtotheCourtasinformationonlyandnoactionisbeingrequestedat
thistime.

Ifanyfurtherinformationshouldberequired,pleasecontactthisofficerat(512)450Ͳ8576͘

Respectfully,




EvanCisneros                                                 AmandaCeballos
SeniorU.S.PretrialServicesOfficer                            SupervisingU.S.PretrialServicesOfficer



cc:    U.S.AttorneyDefenseCounsel       

TheCourtdoesconcur___________TheCourtdoesnotconcur_____________




_______________________
____
  _ _____________
U.S.MagistrateJudge,SusanHightower


September 29, 2021
____________
Date




“....strivingtoexemplifythehighestidealsandstandardsincommunitycorrections.”               Page 2
